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                          IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

RASHEEN ALDRIDGE,                             )
                                              )
                 Plaintiff,                   )
                                              )
vs.                                           )       Case No. 4:18-cv-1677-CAS
                                              )
CITY OF ST. LOUIS MISSOURI, et al.,           )
                                              )
                 Defendants.                  )

                       JOINT MOTION TO EXTEND CASE SCHEDULE
       Pursuant to Federal Rules of Civil Procedure 6(b)(1)(A), 16(b)(4), the Parties jointly move

to extend the deadline to extend Plaintiff’s deadline to disclose expert witnesses and further extend

the remaining deadlines in the case schedule. In support thereof, the Parties state as follows:

       1.        On January 29, 2020, the Court entered the Amended Case Management Order

(“CMO”) in this case. See Doc. No. 71.

       2.        Under this CMO, the deadline for Plaintiff to disclose expert witnesses is August

21, 2020. Doc. No. 71 at 1.

       3.        The Court granted Defendant Olsten’s Motion to Stay Proceedings (Doc. No. 55)

on January 15, 2020, allowing a partial stay to preserve Defendant Olsten’s Fifth Amendment

right against self-incrimination in the criminal prosecution concerning the facts of the instant

matter. See Doc. No. 69.

       4.        Defendant Olsten’s criminal trial is currently set for September 28, 2020, so

Defendant Olsten has not yet participated in discovery in the instant matter. See Doc. No. 78.

       5.        Without the deposition of Defendant Olsten, Plaintiff cannot adequately prepare an

expert report.



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         6.      St. Louis began experiencing significant disruption due to the COVID-19 pandemic

  in mid-March. The City of St. Louis has issued a series of shut down orders. To this day, key staff

  in both SLMPD and the City Counselor’s office are either burdened with pandemic response item

  or have other restrictions or limitations on in office work which impact Defendants’ ability to

  timely produce responsive documentation pertinent to Plaintiff’s expert reports.

         7.      Counsel for Plaintiff, Defendant City of St. Louis, and Defendant Hayden are in

  regular and on-going communication about how best to continue discovery.

         8.      While Plaintiff, Defendant City of St. Louis, and Defendant Hayden have been fully

 engaged in the litigation, because of the difficulties producing responsive documents due to the

 pandemic and Defendant Olsten’s stay, Plaintiff, Defendant City of St. Louis, and Defendant

 Hayden are unable to meet all the deadlines in the current case schedule.

         9.      No party will be prejudiced by the extension of these deadlines.

         10.     The proposed amended deadlines in this case are as follows:

           ACTIVITY                          CURRENT                    PROPOSED DEADLINE
Deadline for Plaintiff to disclose
all expert witnesses and provide
                                          August 21, 2020                    December 21, 2020
     reports required by Rule
              26(a)(2)
 Deadline for Plaintiff to make
 expert witnesses available for
                                        September 25, 2020                    January 22, 2021
depositions and have depositions
            completed
 Deadline for Defendants City
    and Hayden to disclose all
  expert witnesses and provide            October 2, 2020                    February 22, 2021
     reports required by Rule
              26(a)(2)
 Deadline for Defendants City
   and Hayden to make expert
                                         November 2, 2020                     March 22, 2021
      witnesses available for
            depositions




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Deadline for Plaintiff, Defendant
 City, and Defendant Hayden to          November 12, 2020               April 1, 2021
      complete all discovery
     Deadline for any motion
   concerning the actual cost of
     medical care or treatment
                                        November 25, 2020               April 7, 2021
rendered to Plaintiff, pursuant to
§ 490.715, Mo. Rev. Stat. (2017
              Supp.)
   Deadline for any motions to
       dismiss, for summary
  judgment, motions to limit or
                                        December 18, 2020                May 7, 2021
   exclude expert testimony, or
   motions for judgment on the
            pleadings
  Deadline for opposition briefs
  on any motions to dismiss, for
                                          January 19, 2021               June 4, 2021
 summary judgment, or motions
  for judgment on the pleadings
Deadline for reply briefs on any
motions to dismiss, for summary
                                          January 29, 2021              June 14, 2021
     judgment, or motions for
    judgment on the pleadings
  Deadline for Daubert motions          November 25, 2020               April 7, 2021
            Trial date                    May 24, 2021                 October 18, 2021


         WHEREFORE, the Parties respectfully pray for an order amending the CMO together with

 such other and further relief as the court deems just and proper.




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Dated: August 13, 2020                    Respectfully submitted,

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